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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


UNITED STATES OF AMERICA,

         Plaintiff,                                   CASE NO. 4:19-cr-00341

v.

JOSE M. GONZALEZ-TESTINO,

      Defendant.
______________________________//

             DEFENDANT JOSE M. GONZALEZ-TESTINO’S
         UNOPPOSED MOTION FOR LEAVE TO FILE UNDER SEAL
 UNOPPOSED MOTION FOR TEMPORARY RELEASE OF THE U.S. PASSPORT OF
   WALTER ALEXANDER GONZALEZ-TESTINO AND TO PERMIT TRAVEL

         Defendant, Jose Manuel Gonzalez-Testino, respectfully files this unopposed motion for

leave to seal his Unopposed Motion for Temporary Release of the U.S. Passport of his brother,

Walter Alexander Gonzalez-Testino and to permit the latter’s travel, and proposed order granting

same. In support of this motion, counsel would show the following:

         1.      The motion and proposed order contains information of where Walter Alexander

Gonzalez-Testino would be traveling, and the personal reasons for his visit.

         2.      A popular Venezuelan blog had previously reported that this Court granted another

co-surety, Ms. Maria Alejandra Diaz’s motions to travel.

         3.      Mr. Gonzalez-Testino is concerned that his family’s safety will be compromised if

his brother’s travel is revealed to the public. Sealing this motion will contribute to his, and his

family’s continued security.

         4.      This Court previously granted motions to seal docket entries 95, 86 and 68 for co-

surety Maria Diaz for the same purpose.



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         WHEREFORE, Defendant Jose Manuel Gonzalez-Testino moves this Honorable Court to

seal Mr. Gonzalez-Testino’s Unopposed Motion for Temporary Release of the U.S. Passport of

his brother Walter Alexander Gonzalez-Testino and to permit him to travel, and proposed order

filed simultaneously herewith.

                             CERTIFICATE OF CONFERENCE

         The undersigned counsel of record for the Defendant, Jose Manuel Gonzalez-Testino,

hereby certifies that he has conferred with DOJ Trial Attorney Sarah Edwards who states that she

has no objection to this motion.

                                            Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY on this 27th day of October, 2020, I electronically filed the

foregoing document with the Clerk of the Court using CM/ECF. I also certify the foregoing

document is being served this day on all counsel of record either via transmission of Notices of

Electronic Filing generated by CM/ECF or in another authorized manner for those counsel or

parties not authorized to receive electronically Notices of Electronic Filing.


                                                      /s/ Edward R. Shohat
                                                      _____________________________
                                                      EDWARD R. SHOHAT




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